
	OSCN Found Document:SOTO v. STATE

	
				
            
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				SOTO v. STATE2014 OK CR 2Case Number: M-2012-1095Decided: 03/27/2014MAXIMINO MANUEL SOTO, Appellant, v. STATE OF OKLAHOMA, Appellee.
Cite as: 2014 OK CR 2, __  __

O P I N I O N
A. JOHNSON, JUDGE:
¶1 Appellant Maximino Manuel Soto appeals from his misdemeanor 
Judgment and Sentence imposed by the Honorable Ryan D. Reddick, Associate 
District Judge, in Case No. TR-2012-376 in the District Court of Beaver County. 
Soto was convicted in a non-jury trial of Overweight Vehicle in violation of 
47 O.S.2011, § 
14-109, and was sentenced to a fine of $290.00 and costs and fees of 
$206.50.
FACTS
¶2 On May 17, 2012, Soto was driving a refuse collection 
vehicle for his employer, Seward County Waste Management Services. That company 
contracts with cities in the Oklahoma panhandle to collect refuse from 
residences and businesses and haul it to a landfill in Seward County, Kansas. 
Soto was stopped by an Oklahoma Highway Patrol trooper on U.S. Highway 83 in 
Beaver County, Oklahoma. The troopers observation of the vehicles tires had 
led him to believe it might exceed the allowable weight set by 47 O.S.2011, § 14-109. Weighing of the truck 
confirmed it was overweight.
¶3 On appeal Soto argues, as he did below, that the vehicle 
weight limitations of Section 14-109 did not apply to his truck because it was a 
"refuse collection vehicle" and so falls within an exception to that statute 
providing:
E. Exceptions to this section will be:1. Utility or refuse collection 
vehicles used by counties, cities, or towns or by private companies contracted 
by counties, cities, or towns if the following conditions are met:a. 
calculation of weight for a utility or refuse collection vehicle shall be "Gross 
Vehicle Weight". The "Gross Vehicle Weight" of a utility or refuse collection 
vehicle may not exceed the otherwise applicable weight by more than fifteen 
percent (15%). The weight on individual axles must not exceed the manufacturer's 
component rating which includes axle, suspension, wheels, rims, brakes, and 
tires as shown on the vehicle certification label or tag, andb. utility or 
refuse collection vehicles operated under these exceptions will not be allowed 
to operate on interstate highways.¶4 The State does not deny Sotos truck was a "refuse 
collection vehicle" within the meaning of the statutory exception, but argues 
the truck did not qualify for that exception because its owner had not purchased 
an overload permit pursuant to Section 14-109(G):
G. Utility or refuse collection vehicles, vehicles transporting 
timber, pulpwood, and chips in their natural state, vehicles transporting oil 
field equipment or equipment used in oil and gas well drilling or exploration, 
vehicles transporting rock, sand, gravel, coal, and flour and vehicles 
transporting grain, operating under exceptions shall purchase an annual special 
overload permit for One Hundred Dollars ($100.00). ¶5 The single issue raised here is one of statutory 
construction: Does a truck owner qualify for the exemption provided in 
subsection E without having purchased the special overload permit required by 
subsection G?
¶6 We answer that question in the negative and affirm Sotos 
conviction and the fine imposed.
¶7 The fundamental rule of statutory construction is to 
ascertain and give effect to the intention of the Legislature as expressed in 
the statute. State v. Anderson, 1998 OK CR 67, ¶ 3, 972 P.2d 32, 33. Statutes are to be construed 
according to the plain and ordinary meaning of their language. Wallace v. 
State, 1997 OK CR 
18, ¶ 4, 935 P.2d 
366, 369-70.
¶8 Judge Reddick did not err in interpreting 47 O.S.2011, § 14-109. The Legislature 
obviously intended, and the plain language of the statute states, that 
subsection E is providing an "exception" to Section 14-109 weight limits for 
refuse collection vehicles. 47 O.S.2011, § 14-109(E). The Legislature 
obviously intended, and the plain language of subsection G states, that refuse 
collection vehicles "operating under exceptions" shall purchase an annual 
special overload permit for $100.00. 47 O.S.2011, § 14-109(G).
DECISION
¶9 The Judgment and Sentence of the District Court of Beaver 
County in Case No. TR-2012-376 is AFFIRMED. Pursuant to Rule 3.15, 
Rules of the Oklahoma Court of Criminal Appeals, Title 22, Ch.18, App. 
(2014), the MANDATE is ORDERED issued upon the filing of this 
decision.
AN APPEAL FROM THE DISTRICT COURT OF BEAVER COUNTYTHE 
HONORABLE RYAN D. REDDICK, ASSOCIATE DISTRICT JUDGE
&nbsp;
APPEARANCES AT TRIAL APPEARANCES ON APPEAL


      DANIEL H. DIEPENBROCKAttorney at Law223 North KansasP. O. 
      Box 2677Liberal, KS 67095COUNSEL FOR APPELLANT
      ABBY M. CASHAssistant District AttorneyBeaver County 
      Courthouse111 West 2nd StreetP. O. Box 849Beaver, 
      OK 73932COUNSEL FOR THE STATE
    
      DANIEL H. DIEPENBROCKAttorney at Law223 North KansasP. O. 
      Box 2677Liberal, KS 67095COUNSEL FOR APPELLANT
      E. SCOTT PRUITTAttorney General of OklahomaJENNIFER B. 
      MILLERAssistant Attorney General313 N.E. 21st 
      StreetOklahoma City, OK 73105COUNSEL FOR THE 
      STATE
OPINION BY: A. JOHNSON, J.LEWIS, P.J.: ConcurSMITH, V.P.J.: 
ConcurLUMPKIN, J.: ConcurC. JOHNSON, J.: Concur





	Citationizer© Summary of Documents Citing This DocumentCite
		Name
		Level
	None Found.Citationizer: Table of AuthorityCite
		Name
		Level
	Oklahoma Court of Criminal Appeals Cases&nbsp;CiteNameLevel&nbsp;1997 OK CR 18, 935 P.2d 366, Wallace v. StateDiscussed&nbsp;1998 OK CR 67, 972 P.2d 32, 70 OBJ        789, State v. AndersonDiscussedTitle 47. Motor Vehicles&nbsp;CiteNameLevel&nbsp;47 O.S. 14-109, Single-Axle Load Limit - Gross Weight of Vehicle and Load - Exceptions - Additional Fees - "Utility Vehicle" DefinedDiscussed at Length


				
					
					
				
             
         
        
            

		